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Luke Andrew Busby, Ltd. 
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Attorney for the Plaintiff 
   
                              UNITED STATES DISTRICT COURT  
                                      DISTRICT OF NEVADA 
                                                  
                                                  
    COURAGE UHUMWNOMA OSAWE,                          
                                                      
                     Plaintiff(s),                   Case No.​ 3:18-cv-00600-RCJ-WGC  
              vs.                                     
                                                     MOTION TO COMPEL 
    DMV INVESTIGATOR JENNIFER                        SCHEDULING OF EARLY 
    TINSLEY, DMV INVESTIGATOR                        CASE CONFERENCE  
    BRIAN BOWLES, DMV                                 
    INVESTIGATOR WILLIAM LYONS                       ORAL ARGUMENT 
    and DMV SERGEANT TODD                            REQUESTED 
    PARDINI; and JOHN DOES I through                    
    X, inclusive                                      
                                                      
                 Defendant(s). 
    _________________________________/ 

                                                  
                                                      

         
            COMES NOW, COURAGE UHUMWNOMA OSAWE, (“Osawe” or “Plaintiff”), by 

and through the undersigned counsel, and hereby files the following Motion to Compel 

Scheduling of Early Case Conference against DMV INVESTIGATOR JENNIFER 

TINSLEY (“Tinsley”), DMV INVESTIGATOR BRIAN BOWLES (“Bowles”), DMV 

INVESTIGATOR WILLIAM LYONS (“Lyons”), and DMV SERGEANT TODD 



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PARDINI (“Pardini”) (collectively “the Defendants”); and JOHN DOES I through X, 

inclusive. 

      This Motion is made and based upon all of the pleadings and records on file for this 

proceeding together with every exhibit that is mentioned herein or attached hereto (each of 

which is incorporated by this reference as though it were set forth hereat in haec verba), if 

any there be, as well as the points and authorities set forth directly hereinafter.  

                ​ MEMORANDUM OF POINTS AND AUTHORITIES 

      The Plaintiff filed a Complaint in this matter on December 24, 2019. On February 4, 

2019, the Defendants filed a Motion for Summary Judgment. On February 7, 2019, the 

undersigned counsel for the Plaintiff emailed counsel for the Defendant seeking to schedule 

an early case conference (“ECC”) in this matter. Between February 7-9, 2019, the attorneys 

for the parties had a phone call and exchanged emails regarding requirement in Federal Rule 

of Civil Procedure 26(f) that an ECC be held. Counsel for the Plaintiff requested via email 

that the ECC be scheduled for March 13, 2019, more than a month away from the date the 

email requesting the ECC be scheduled was sent. ​See​ Feb. 7, 2019, email in Exhibit 1. 

Counsel for the Defendant has to date refused to agree to schedule the ECC as required by 

FRCP 26(f) and did not respond to the last email from the undersigned counsel requesting 

alternative dates on which to schedule the ECC. ​See ​Feb. 9, 2019 email in Exhibit 1.   

      Pursuant to FRCP 26(f)(1), the parties must confer “as soon as practicable” to discuss 

the case and to develop a discovery plan as required by FRCP 26(f)(2). FRCP 26(f) assumes 

that a Defendant will cooperate in the scheduling of an ECC. LR 26-1(a) requires that a 




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Plaintiff’s attorney must initiate the scheduling of the ECC required by FRCP 26(f).   

      FRCP 37(f) states that if a party or its attorney fails to participate in good faith in 

developing and submitting a proposed discovery plan as required by FRCP 26(f), the court 

may, after giving an opportunity to be heard, require that party or attorney to pay to any 

other party the reasonable expenses, including attorney's fees, caused by the failure. 

      WHEREFORE, the Plaintiff respectfully requests that the Court issue an order 

compelling the Defendants to participate in an ECC and to develop the discovery plan 

required by FRCP 26(f)(2) on March 13, 2019, at 3 p.m. and award attorneys fees and costs 

to the Plaintiff associated with the Defendant's failure to cooperate in scheduling the ECC.          

                                   FRCP 37 Certification 

      The undersigned counsel certifies that he has in good faith conferred and consulted 

with counsel for the Defendants in an effort to secure compliance with the requirement to 

schedule an ECC without Court action as shown in Exhibit 1, and that the matter has not 

been resolved. 

Respectfully submitted this February 13, 2019.  
  
                                                     By: ​__________________________ 
                                                     Luke Busby 
                                                     Nevada State Bar No. 10319 
                                                     316 California Ave.  
                                                     Reno, NV 89509  
                                                     775-453-0112 
                                                     luke@lukeandrewbusbyltd.com 
                                                     Attorney for the Plaintif 
 
                                



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                            CERTIFICATE OF SERVICE 
              Pursuant to FRCP 5, I certify that on the date provided below, I caused service 

to be completed by: 

______ personally delivering; 

______ delivery via Reno/Carson Messenger Service; 

______ sending via Federal Express (or other overnight delivery service); 

 ______ depositing for mailing in the U.S. mail, with sufficient postage affixed thereto; or, 

 ​XXXX​ delivery via electronic means (ECF, fax, eflex, NEF, etc.) 

 a true and correct copy of the foregoing document addressed to:  

AARON D. FORD 
Attorney General 
NATHAN L. HASTINGS (Bar No. 11593) 
Senior Deputy Attorney General 
State of Nevada 
Office of the Attorney General 
555 Wright Way 
Carson City, NV 89711 
(775) 684-4606 (phone) 
(775) 684-4601 (fax) 
NHastings@ag.nv.gov 
Attorney for Defendants 
 
 
By: ______________________________                       2/13/2019
                                                  Dated: ________________ 
Luke Busby 
 
 
 
 
 
 



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                                           Exhibit List  
 
    1. Email chain between Busby and Hastings 




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